

People v Chambers (2025 NY Slip Op 02015)





People v Chambers


2025 NY Slip Op 02015


Decided on April 03, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 03, 2025

Before: Webber, J.P., Kennedy, Mendez, Higgitt, O'Neill Levy, JJ. 


Index No. 1457/03|Appeal No. 4026|Case No. 2024-03254|

[*1]The People of the State of New York, Respondent,
vAndre Chambers, Defendant-Appellant. 


Law Office of Ronald L. Kuby, New York (Ronald L. Kuby of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Conor E. Byrnes of counsel), for respondent.



Order, Supreme Court, New York County (Daniel P. Conviser, J.), entered on or about March 19, 2024, which denied defendant's motion pursuant to CPL 440.10 to vacate a judgment, same court (Rena K. Uviller, J.), rendered February 18, 2004, convicting him, upon his plea of guilty, of murder in the second degree, and sentencing him to a term of 15 years to life, unanimously affirmed.
The motion court properly found sua sponte that defendant's claims were procedurally barred pursuant to CPL 440.10(2)(c). Where a "defendant's claim does not involve factual matters beyond the scope of the record or legal issues which could not have been asserted before the final judgment of conviction, it [is] not the proper subject of a CPL 440.10 motion" (People v Mower , 97 NY2d 239, 245-246 [2002]). Here, defendant could have asserted his geographical jurisdiction defense before the plea or sentencing court, or on a direct appeal. Moreover, that defense is based on information in the plea colloquy, which is contained in the record. Defendant also does not adequately explain why he waited nearly 20 years to assert this defense.
Notwithstanding the People's concession that the motion court quoted some inapplicable language from CPL 440.10(2)(c), the court otherwise properly found that defendant's motion is procedurally barred under CPL 440.10(2)(c).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 3, 2025








